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                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

IN RE BLUE CROSS BLUE SHIELD                  :
ANTITRUST LITIGATION                          : Master File 2:13-cv-20000-RDP
MDL 2406                                      :
                                              : This document relates to all cases
                                              :

      PLAINTIFFS’ OPPOSITION TO BLUE CROSS BLUE SHIELD OF
       ALABAMA’S MOTION FOR LEAVE TO FILE EXCESS PAGES

 I.    BACKGROUND

       Unfortunately, Defendant Blue Cross and Blue Shield of Alabama (“BCBS-

AL”) once again has forced Plaintiffs to ask the Court to enforce the Orders in this

case and the rules of fair play. Operating under the belief that it can do as it wants

without consequences, BCBS-AL, for the second time this month, has filed a brief

that is far out of compliance with Discovery Order No. 1 (D.E. 483) and the

Court’s ordinary standing order. Tellingly, BCBS-AL’s recent motions for

additional pages have not noted whether they are opposed or unopposed, as

generally is required of discovery motions in the Northern District. This is because

rather than reaching out to Plaintiffs in either circumstance, BCBS-AL simply filed

its overlength brief with a concurrent motion hoping for the Court’s forgiveness of

its disregard of the Discovery Order No. 1. Such behavior, of course, is typical of

a monopolist like BCBS-AL, which does what it wants, when it wants, and

occasionally visits with its “regulator” the Department of Insurance to ask for

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forgiveness after it is caught engaging in wrongdoing. BCBS-AL refuses to meet

and confer except when it suits its own interests.

      Earlier this April, BCBS-AL filed a 38-page response (D.E. 2068) to

Plaintiffs’ 10-page Motion to Modify Discovery Order No. 88 (D.E. 2036).

Despite the parties’ discussion regarding a briefing schedule for this Motion,

BCBS-AL made no effort to raise its supposed need for additional pages with

Plaintiffs. BCBS-AL simply filed its pro forma Motion for Leave along with its

brief. Plaintiffs decided it was not worth their energy or the Court’s to oppose the

Motion, which was ultimately granted by the Court.

      Now BCBS-AL has filed an even longer 45-page response 1 to a Motion for

Sanctions. Again, despite 16 days to work on its response, BCBS-AL made

absolutely no effort to discuss or meet and confer with Plaintiffs regarding the

length of its brief. Instead, BCBS-AL once again simply took excess pages and

filed a pro forma Motion with its overlength brief claiming, unconvincingly, that it

tried to file a “concise” response. 2 Unfortunately, it now is clear that Plaintiffs

must oppose BCBS-AL’s second motion for additional pages or risk facing 50 or

60-page briefs the next time around. The Court should strike BCBS-AL’s

overlength brief and order it to file a compliant brief within 24 hours of the Court’s

1
 The other Defendants filed their own 3-page brief in response.
2
 The reality is that this brief, in conjunction with its earlier 38 page screed on its
privilege process, BCBS-AL has now provided something like 83 pages of briefing
to the Court on this issue.

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Order. In addition, the Court should require that BCBS-AL meet and confer with

Plaintiffs on any request for additional pages or time and seek leave for excess

pages from the Court at least 3 days before its filing deadline.

II.   ARGUMENT

      Plaintiffs have two major objections to BCBS-AL’s motion for additional

pages. First, it evidences BCBS-AL’s continuing view that in this litigation, as in

its business practices, that as a monopolist it can do whatever it wants without fear

of consequence. BCBS-AL’s repeated last minute motions for additional pages,

without any attempt to meet and confer with Plaintiffs, put the Court and Plaintiffs

in the difficult position of having to decide whether it is worth the time to police

the rules in each particular instance. Plaintiffs do not object lightly. In the past (for

instance in the case of D.E. 2068), Plaintiffs have declined to oppose BCBS-AL’s

efforts because it simply was not worth the trouble to challenge a request for an 8-

page extension. Now, though, BCBS-AL is clearly emboldened and showing no

effort to “submit a concise and succinct opposition in response” as it represented in

its Motion. The brief itself is full of both irrelevant material, and various points

that BCBS-AL has made ad nauseum to the Court in its recent overlength brief and

oral arguments. It simply an example of lawyers making no effort to edit or

streamline the information they have provided to Court, banking on the Court

accepting their filing and Plaintiffs being forced to respond to it. In its motion,



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BCBS-AL notes the importance of Plaintiffs’ Motion for Sanctions and that it

“raises significant and material Allegations” about BCBS-AL’s privilege process.

Unfortunately, “importance” in this case is just an excuse to file bloated and

repetitive papers. By way of comparison, in the most important briefing in the

case to date, the opening brief filed by Defendants on the Standard of Review was

only 2 pages longer at 47 pages (D.E. 1353-1). BCBS-AL clearly made no effort

to comply with the page limits in place or provide just the relevant argument to the

Court. It simply inundated the Court with paper, repeating arguments that were

made in its last overlength brief and at various other times in the litigation.

      Defendants, of course, are well aware of the need and importance of the

meet and confer in these instances. And generally, Plaintiffs have been able to

work out issues regarding scheduling and length of briefs with the Defendants. See

Exhibit A Email Regarding 1292(b) Response (demonstrating agreement to an

alternative briefing approach just yesterday). BCBS-AL knows this process full

well. The reason it chooses not to meet and confer with Plaintiffs on these kinds of

issues is clear: it knows its position is unreasonable and expect Plaintiffs to oppose

it. By waiting until the last minute and going straight to the Court, it puts the Court

in the unenviable situation of having to strike its overlength brief and make it re-

file a compliant one. If it had sought relief from Plaintiffs in the first instance,

Plaintiffs likely would not have agreed to a 45-page brief, forcing BCBS-AL to file



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a timely Motion which would have allowed the Court to rule on the Request before

the brief was filed. Plaintiffs’ Motion for Sanction was filed on April 11th.

BCBS-AL’s response was not due until April 27th. At any in those 16 days,

BCBS-AL could have met and conferred with Plaintiffs and filed its Motion,

leaving the Court sufficient time to rule on the request before the deadline.

Instead, it simply tried to jam the Plaintiffs and the Court by filing their request at

the last minute.

      Second, BCBS-AL is not engaging in victimless abuse of the rules. To the

contrary, it is creating significant prejudice to Plaintiffs. The parties, at the request

of the Court and the Special Master agreed to a briefing schedule. At no point

during that discussion did counsel for BCBS-AL raise the possibility that they

intended to file a brief 15 pages beyond the cutoff. In those discussions of the

schedule, Plaintiffs were clear that BCBS-AL could set the date for its response to

Plaintiffs’ Motion. See Exhibit B. However, it was BCBS-AL that vigorously

opposed giving Plaintiffs until May 11 to file their reply brief. See id. This seemed

petty at the time, but now it is clear that BCBS-AL intended to file an overlength

brief requiring extra work from Plaintiffs at the last minute. Why the page limit

issue wasn’t raised in the context of these discussions creates real questions about

whether BCBS-AL, knowing the history, intended to sandbag Plaintiffs in this

process. Now Plaintiffs have until May 8 to respond to a brief that is 1.5 times the



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Court’s allowed limit, and was filed after the close of business on a Friday.

Plaintiffs are left to guess whether the Court will grant BCBS-AL’s motion and

now have to scramble to draft their own response and determine what, if any, page

length relief will be required for their reply to BCBS-AL’s bloated response.

       Finally, these wildly overlength, belabored briefs create more work for the

Court and go against the entire spirit of the discovery process engaged in this case

to date—which has been to simplify and quickly provide disputes to the Magistrate

for resolution. BCBS-AL is showing no self-control or focus and is using

additional pages to discuss wholly extraneous material and waste the Court and

Plaintiffs’ time arguing irrelevant, posturing positions. The Court should put a

stop to that now.

III.   CONCLUSION

       As it treats healthcare providers and subscribers, BCBS-AL has no desire to

meet and confer and risk not getting exactly what it wants. Instead, it acted as it

does in the marketplace and just failed to bargain with the Plaintiffs, trusting the

Court would allow them forgiveness. The Court should deny BCBS-AL’s request,

order it to file a brief in compliance with Discovery Order No. 1 within 24 hours,

order BCBS-AL to meet and confer with Plaintiffs in advance of any request for an

extension of the page limits, and order BCBS-AL to file any Motion for Leave to

File Excess Pages at least 3 business days before its filing is due.



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                           CERTIFICATE OF SERVICE
      I certify that on April 29, 2018, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send notification of such

filing to all counsel of record.

                                              /s/ Joe R. Whatley, Jr.
                                              Joe R. Whatley, Jr.




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